            Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 1 of 13




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,
                                                        Case No. 1:21-CR-00601-JDB
                Plaintiff,

       v.

DAVID ANTONIO TICAS,

                Defendant.



            RESPONSE TO GOVERNMENT’S SENTENCING MEMORANDUM

       Defendant David Antonio Ticas, by and through his attorney of record, Deputy Federal

Public Defender Lisa LaBarre, hereby files this response to the government’s sentencing

memorandum filed July 7, 2022. ECF No. 34.

I.     THE GOVERNMENT’S RECOMMENDATION IS GROSSLY

       DISPROPORTIONATE FROM THE FACTS.

       The government’s argument for 90 days’ incarceration, plus 36 months of probation, plus

60 hours of community service, is grossly disproportionate and divorced from the facts. This

sentence is overly harsh and runs afoul of the principles of just punishment. Indeed, this

sentence is even far and above what the Probation Office has recommended to the Court: 3 years

of probation. ECF No. 23. Probation specifically notes “a sentence of incarceration to a BOP

facility does not appear to be needed for specific deterrence in this case to promote respect for

the law.” Id. at 2. Probation goes on to state “[a] probationary sentence would serve to protect

the community and fulfill the goals of deterrence and punishment for [Mr. Ticas].” Id. The

defense agrees with the Probation office in its recommendation for a noncustodial sentence. Such

a sentence is in line with the findings of Probation and supported by the facts of this case.




                                                   1
          Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 2 of 13




II.     A SENTENCE OF HOME DETENTION WOULD AVOID UNWARRANTED

        SENTENCING DISPARITIES.

        A sentence of home detention would be congruent with cases similar to Mr. Ticas’s and

would avoid sentencing disparities. In the Table 1 attached to the government sentencing

memorandum it appears there are 149 cases with the same underlying charge, a violation of 40

U.S.C. § 5104(e)(2)(G). Among those 149 cases, 97 defendants received non-incarceration

sentences of probation and/or home detention, 65% percent of defendants with this charge. This

supports a non-incarceration sentence here. The government argues that their proposed sentence

of 90 days’ incarceration, plus 36 months of probation, plus 60 hours of community service, is

not disparate from prior sentences. However, their own sentencing table does not support this.

        To support their argument that Mr. Ticas should be in the minority of cases resulting in

incarceration, the government cites the case United States v. Virginia Spencer, 1:21-cr-00147-

002-CKK. ECF No. 34 at 21. In Spencer, the defendant joined in a group that got into a verbal

and physical altercation with a man on the way to the riot, only stopping after the MPD officers

physically separated them; joined the crowed that surged past police officers trying to hold back

the rioters in the Crypt; joined another crowd that formed outside the House of Representatives

Chamber that attempted to enter that Chamber while lawmakers were still trapped inside; went

into the suite of offices assigned to Speaker of the House Nancy Pelosi; and witnessed violence

against law enforcement officers yet continued to participate in the riot. See 1:21-cr-00147-002-

CKK, ECF No. 55 at 2. Importantly, the defendant in Spencer had a conviction history

consisting of misdemeanor driving with a revoked license, and had previously served 20 days in

jail on that charge. Id. at 19.

        The defendant’s conduct in Spencer is vastly different in scale, severity, and degree than

Mr. Ticas’s. Mr. Ticas did not witness this kind of assault on officers, engage in any violence,

attempt to enter the Chambers while lawmakers were present, or enter the suites of offices of the

Speaker of the House, a particularly sensitive area of the Capitol. He also has no conviction

history and honorably served this country for many years. This case in fact highlights why Mr.



                                                  2
             Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 3 of 13




Ticas’s sentence should not include a term of imprisonment because his conduct was so vastly

different.

        Based on a review of similar cases, a non-incarceration sentence would avoid sentencing

disparities and be proportional to Mr. Ticas’s conduct. See United States v. Eliel Rosa, 21-CR-

00068 (TNM) (defendant in Capitol for 20 minutes and posted on social media, sentenced to 12

months’ probation); United States v. Julia Sizer, 21-CR-00621 (CRC) (defendant recorded entry

to the Capitol and lied to the FBI about her conduct, sentenced to 12 months’ probation); United

States v. William Blauser, 21-CR-00386 (TNM) (Navy veteran, was pushed by officers out of the

Rotunda, sentenced to pay $500 fine and $500 in restitution); United States v. Gary Edwards, 21-

CR-00366 (JEB) (entered a senator’s office which was later found “trashed,” sentenced to 12

months’ probation).

III.   A SPLIT SENTENCE IS NOT LAWFUL IN THIS CASE.

        The government relies on United States v. Little, 21-cr-315 (RCL), 2022 WL 768685, at

*1 (D.D.C. Mar. 14, 2022) and its progeny as the authority to support its argument for a split

sentence in this case. 1 Reliance on Little is misplaced because the Court in Little incorrectly
determined the lawfulness of a split sentence, relying not on the applicable statutory provisions,

but instead on its opinion that “[o]nly a split sentence would adequately serve the goals of

sentencing described in 18 U.S.C. § 3553.” Little at *3. The Court does not have the authority to

set the outer bounds of criminal punishment: “the scope of judicial discretion with respect to a

sentence is subject to congressional control.” Mistretta v. United States, 488 U.S. 361, 364


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          Many judges in this district confronted with the government’s request for a split
sentence for one single petty offense conviction have declined to impose such a sentence. See
United States v. Spencer, 21-CR-147 (CKK) (amending sentence after briefing provided), ECF
No. 70; United States v. Torrens, No. 21-cr-204 (BAH), ECF No. 110 & 125); United States v.
Kari Kelley, 21-CR-201 (DLF) (At sentencing on March 17, 2022, Judge Friedrich rejected the
government’s contention that a split sentence could be imposed even after being provided notice
of the Little decision); United States v. Jacob Wiedrich, 21-CR-581 (TFH) (Judge Hogan also
rejecting government’s proposal for split sentence); United States v. Vic Williams, 21-CR-388
(RC) (court did not impose split sentence despite government’s recommendation of split
sentence); United States v. Zachary Wilson, 21-CR-578 (APM) (same); United States v. Traci
Sunstrum, 21-CR-652 (CRC) (same); United States v. Michael Carico, 21-CR-696 (TJK) (same);
United States v. Tanner Sells, 21-CR-549 (ABJ) (same).


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          Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 4 of 13




(1989); United States v. Wiltberger, 18 U.S. (5 Wheat.) 76 (1820); Ex parte United States, 242

U.S. 27 (1916). For the reasons below, this Court should reject Little’s faulty interpretation of §

3561(a)(3).

       A.         Section 3561(a) Is Not A “Grant of Authority”—It Is a Limiting

                  Provision.

       The court’s opinion in Little is premised on its incorrect view of § 3561 as “a grant of

authority,” with an exception (subsection (a)(3)) and an exception-to-the-exception (the petty-

offense clause in subsection (a)(3)). Little at *4. But § 3561(a) does not “largely reiterate[] the

same rule found in § 3551,” id. at 7, or expand the authority granted in § 3551 (which provision

is entitled “Authorized sentences”). Instead, as a whole, § 3561(a) further limits the use of

probation. It prohibits probation in three circumstances: probation is not permitted (1) if “the

offense is a Class A or Class B felony and the defendant is an individual,” (2) if the offense of

conviction is one for which the Code expressly excludes probation, or (3) if “the defendant is

sentenced at the same time to a term of imprisonment for the same or a different offense that is

not a petty offense.” The first two of three subsections plainly circumscribe a court’s authority

to impose a term of probation. Thus, the court’s characterization of § 3563(a)(3) as “a grant of

authority” “largely reiterat[ing]” § 3551(b)’s general grant of authority is simply inaccurate.

Section 3561 sets applicable prohibitions on probation; it does not, as the government and Little

suggest, expand the use of probation to create the possibility of a “split sentence” for any and all

petty offenses.

       B.         Little’s Interpretation of § 3563(a)(3) Is Grammatically Incorrect,

                  Divorced from Context, and Disregards § 3551(b).

       According to Little, “‘same’ functions as an adjective,” not a pronoun, and thus the

“petty-offense clause” (i.e., “that is not a petty offense”) extends to both “the same” and “a

different offense.” Little at *5. Little reasoned that the “[t]he phrase . . . lacks obvious indicators

that ‘same’ is functioning as a pronoun or that the backward reach of the petty-offense clause

should be limited to only ‘a different offense.’” Id.



                                                    4
         Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 5 of 13




       Little does not acknowledge or address the most “obvious indicator[] that ‘same’ is

functioning as a pronoun”: grammatically, the use of the word “that” instead of “which” is both

obvious and significant. “That” denotes a restrictive relative clause, rather than a nonrestrictive

relative clause (signaled by “a comma plus which”). Antonin Scalia & Bryan A. Garner,

Reading Law: The Interpretation of Legal Texts 142 & n.7 (2012). 2 Accordingly, “that” restricts

“is not a petty offense” to “a different offense” such that the phrase “that is not a petty offense”

modifies solely “a different offense”; it does not modify “the same.”

       Legislators “are presumed to be grammatical in their compositions” and “[g]rammatical

usage is one of the means . . . by which the sense of a statute is conveyed[.] Id. at 140–41. Had

the drafters meant for “is not a petty offense” to apply to both “the same” and “a different

offense,” the proper wording of subsection (a)(3) would have been: “the same or a different

offense, which is not a petty offense.” The drafters instead properly used “that” as a defining

relative pronoun. Id. at 143.

       The use of the disjunctive “or” in the statute (“the same or a different offense”) “is also

instructive” and indicates that the later modifying clause does not carry over to the term that

precedes the disjunctive. United States v. Nishiie, 996 F.3d 1013, 1023 (9th Cir. 2021) (“As a

general rule, the use of a disjunctive in a statute indicates alternatives and requires that they be

treated separately.”) (quoting Azure v. Morton, 514 F.2d 897, 900 (9th Cir. 1975)).

       Little’s reliance on a “lack[] [of] ‘unexpected internal modifiers or structure’” and “[n]o

comma separat[ing] the phrases ‘the same’ and ‘or a different offense’” (Little at *5) is

unpersuasive. Section 3563(a)(3) “does not contain items that readers are used to seeing listed

together or a concluding modifier that readers are accustomed to applying to each of them.”

Lockhart v. United States, 577 U.S. 347, 352 (2016). Readers are not accustomed to seeing “the




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  For example, compare “Republicans oppose new taxes that are unnecessary. (Restrictive
 meaning: only unnecessary new taxes are anathema.),” with “Republicans oppose new taxes,
 which are unnecessary. (Nonrestrictive meaning: all new taxes are anathema.).” Id. (emphasis
 added). In subsection (a)(3), “that” provides a restrictive meaning.


                                                    5
          Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 6 of 13




same or a different offense” together because it is entirely redundant: “the same or a different

offense” is simply “an offense” or “any offense.”

         Indeed, Little’s interpretation renders “the same or a different” in § 3561(a)(3)

meaningless: to permit split sentences for any and all petty offenses, the drafters would have and

could have said succinctly “any offense that is not a petty offense” as opposed to “the same or a

different offense that is not a petty offense.” The lack of a comma similarly cuts against Little’s

interpretation and supports Mr. Ticas’s position that the petty-offense modifying clause is

restricted to “a different offense.” See supra note 2.

         Little disregarded that “‘different offense’ is set off by the word ‘a’” as “grammatically

necessary” but not indicative of a separation between “the same” and “a different.” Little at *5.

The court failed to recognize that the word “a” can and does play both roles: while

grammatically necessary, the insertion of the determiner “a” before “different offense” also cuts

off the modifying phrase “that is not a petty offense” so that it does not reach backward to “the

same.”

         The court also improperly rejected the “timeworn textual canon” of the “rule of the last

antecedent.” Lockhart, 577 U.S. at 351. Here, as in Lockhart, “the interpretation urged by the

rule of the last antecedent is not overcome by other indicia of meaning. To the contrary §

[3561(a)(3)]’s context fortifies the meaning that principle commands.” Id. at 352. Reading the

phrase “that is not a petty offense” to modify only “a different offense” is the grammatically

correct reading of § 3561(a)(3), as well as the only reading that is consistent with the purpose of

§ 3561(a) and the entire sentencing scheme as a whole. See United Sav. Ass’n of Tex. v. Timbers

of Inwood Forest Assocs., Ltd., 484 U.S. 365, 371 (1988); Scalia & Garner at 167 (“Perhaps no

interpretive fault is more common than the failure to follow the whole-text canon, which calls on

the judicial interpreter to consider the entire text, in view of its structure and of the physical and

logical relation of its many parts.”).

         Citing Paroline v. United States, 572 U.S. 434, 447 (2014), Little ultimately appears to

resort to the “so-called series-qualifier canon,” Yellen v. Confederated Tribes of Chehalis Rsrv.,



                                                    6
           Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 7 of 13




141 S. Ct. 2434, 2448 (2021), to conclude that “the reach of the petty-of clause extends all the

way to ‘the same or a different offense,’” Little Op. at 12. “The series-qualifier canon gives way

when it would yield a ‘contextually implausible outcome.’” Yellen, 141 S. Ct. at 2448 (citation

omitted) (rejecting D.C. Circuit’s application of the series-qualifier canon and reversing

Confederated Tribes of the Chehalis Rsrv. v. Mnuchin, 976 F.3d 15, 22–23 (D.C. Cir. 2020)). In

addition, the court in Paroline was interpreting a statute with six enumerated subprovisions, the

last of which was a “catcall clause.” Id. The court held that the “catchall” clause “is most

naturally understood as a summary of the type of losses covered” in the prior five subprovisions.

Id. Section 3561(a)(3) is not at all similar. Paroline thus provides no support for Little’s

holding.

       For “context,” Little effectively looked solely at “the [petty-offense] phrase itself” in

isolation. Little at *6. While the court purported to look at the introductory language and each

subsection of § 3561, id. at *7-8, the court failed to acknowledge that § 3561(b) operates on the

whole as a limiting provision. The court also effectively ignored § 3551(b). The court did not

consider § 3551(b) to be part of the context in which § 3561(a)(3) must be interpreted and,

instead, wrote it off as a provision that “ordinarily” but does not always apply. Id. at *4.

       The plain text of § 3551(b), entitled “Authorized sentences,” authorizes only

imprisonment “or” probation, not both. Section 3551(b) lists in the disjunctive three different

types of sentences—a term of probation, a fine, and a term of imprisonment—and then provides

that “a sentence to pay a fine may be imposed in addition to any other sentence.” The fact that

the statute specifies that only one type of sentence—a sentence to pay a fine—can be imposed in

addition to a sentence of probation or a sentence of imprisonment underscores that the other two

types of sentences—probation and imprisonment—are mutually exclusive. The statute thus

provides a court with the clear dichotomous choice between imposing a sentence of a term of

imprisonment and imposing a sentence of a term of probation for “an offense,” i.e., any one

single count of conviction.




                                                   7
           Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 8 of 13




       Little also ignored the conflict between §§ 3561(a)(3) and 3551(b) that its interpretation

creates, which even the government concedes exists under that interpretation. See United States

v. Jeremiah Caplinger, No. 21-cr-342 (PLF), Gov’t Resp. to Suppl. Brs. at 4, ECF No. 56

(D.D.C. Mar. 9, 2022) (acknowledging “conflict between those provisions” but arguing conflict

“is readily reconciled”). “There can be no justification for needlessly rendering provisions in

conflict if they can be interpreted harmoniously.” Scalia & Garner at 180 (“The provisions of a

text should be interpreted in a way that renders them compatible, not contradictory.”). Under the

correct interpretation of § 3561(a)(3), discussed above, there is no conflict.

       C.      Little’s Interpretation of § 3563(a)(3) Makes No Sense in Context; The

               Correct Reading Does.

       Under the plain text and grammatically correct reading of subsection (a)(3), a term of

probation for an offense is not permitted if the defendant is sentenced in the same sentencing

proceeding to a term of imprisonment for the same offense conviction, but a term of probation is

permitted if the defendant is sentenced at the same sentencing proceeding to a term of

imprisonment for a separate conviction that is a petty offense. Contrary to Little’s assertion,

“there are [particular] circumstances in which Section 3561’s narrow carveout for petty offenses

would apply.” Little at *8. 3 Specifically, when a defendant is sentenced for two separate
offenses of conviction at the same time, one of the two offenses is a petty offense, and the court

imposes imprisonment for that petty offense, then the court can impose probation for the second

offense. In other words, befitting its status as a petty (i.e., minor) offense, a court can impose

imprisonment (a short term of 180 days or less) for a petty offense and impose probation (and no

term of imprisonment) on a separate (petty or non-petty) offense of conviction. 4 Where, as here,


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           By contrast, as discussed above, Little’s interpretation renders the phrase “the same or a
different” meaningless and does not “give[] full meaning and effect to all the words in § 3561(a).”
Little at *7.
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         By contrast, if the court imposes imprisonment for a non-petty offense, the court may not
impose probation for the petty offense; the court must impose imprisonment for both offenses, and
supervised release could follow for solely the non-petty offense. Similarly, if the court imposes



                                                   8
           Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 9 of 13




there is solely one petty offense conviction, a combined probationary and prison sentence is not

statutorily authorized.

       While the wording of the § 3561(a)(3) is perhaps inartful, when read correctly, the

provision makes sense in the context of modern federal sentencing under the Sentencing Reform

Act (“SRA”). The SRA eliminated “split sentences,” abolished parole, and added the possibility

of a term of supervised release imposed as part of a term of imprisonment. 5 Probation and

supervised release are separate and distinct forms of sentences. Probation is an alternative to

incarceration— imposed instead of and in lieu of a term of imprisonment. By contrast,

supervised release is part and parcel of a term of imprisonment. Thus, the federal sentencing

system was designed to prevent a defendant from being on probation and supervised release at

the same time. Because supervised release is not authorized for a petty offense, when a sentence

of imprisonment is imposed for a single petty offense, it is served and then it is done; no court

supervision may follow. Only then, in that situation, (where the defendant is sentenced to a short

term of imprisonment and no supervision of any kind may follow) is it possible for the court to

subsequently supervise the defendant on a term of (either) probation or supervised release for a

separate offense of conviction without timing and sentence calculation issues. Cf. 18 U.S.C. §

3564(a) (“A term of probation commences on the day that the sentence of probation is imposed,

unless otherwise ordered by the court.”).

       Because the supervised release provision, 18 U.S.C. § 3583(a), expressly prohibits

supervised release after imprisonment for a petty offense, Little suggests that “Section 3561

provides an alternative way for the Court in petty-offense cases to engage in ‘postconfinement

monitoring’ after the defendant is released from imprisonment.” Little at *8. But nowhere did


probation for a petty offense, the court may not impose imprisonment for a non-petty offense; the
court must impose probation for both offenses.
       5
          See U.S.S.G. § 5B1.1(b)(3) & comment. (backg’d) (2018) (identifying § 3561(a)(3) as
the provision that “effectively abolished the use of ‘split sentences’ imposable pursuant to the
former 18 U.S.C. § 3651,” but noting that “the drafters of the Sentencing Reform Act noted that
the functional equivalent of the split sentence could be ‘achieved by a more direct and logically
consistent route’ by providing that a defendant serve a term of imprisonment followed by a period
of supervised release”) (citing S. Rep. No. 225, 98th Cong., 1st Sess. 89 (1983)).


                                                  9
           Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 10 of 13




Congress express a goal of having every offender, regardless of his offense of conviction, on

post-confinement monitoring. In fact, the supervised release statute expressly indicates

Congress’s goal was the opposite—to prohibit post-confinement monitoring of petty offenders.

If Congress wanted to provide some degree of supervision for a person sentenced to

incarceration for one single petty offense, it could have and would have amended § 3583(b)(3)

by simply removing “(other than a petty offense)” to make supervised release available for all

misdemeanors. Such an amendment to § 3583(b)(3) would have ensured the possibility of

supervision for petty offenders without reinstating the possibility of a “split sentence,” a

mechanism that Congress so clearly and unambiguously abolished with the SRA. The fact that

Congress did not do so evinces its intent.

       Permitting both up to six months of incarceration plus up to five years of probation for

one single petty offense makes no sense. A petty offense is, by nature, essentially the most

minor type of charge brought in federal court. Thus, the government’s view, which allows the

possibility of more punishment and a greater expenditure of resources for a petty offender than
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for a Class A misdemeanant, makes zero sense.
       The statute simply does not authorize a harsh increase in petty offense punishment. If

Congress had wanted to so drastically change the sentencing scheme for petty offenses, it would

have done so in a far more explicit manner. Probation as a sentence may be qualitatively less

severe than imprisonment, but it still subjects offenders to “conditions that substantially restrict

their liberty.” Gall v. United States, 552 U.S. 38, 48 (2007). It would be illogical to allow

imprisonment and probation for the least serious offenses in the federal system.



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          Under the government’s view, a defendant who committed one single petty offense
could be punished with 6 months of imprisonment followed by five years of court supervision
(“probation”); whereas, a defendant who committed a Class A misdemeanor, if sentenced to any
amount of imprisonment at all, could be sentenced only to one year or less of court supervision
(“supervised release”). Statutes should be construed to avoid such absurd results. See, e.g.,
United States v. X-Citement Video, Inc., 513 U.S. 64, 68–70 (1994); Public Citizen v. Dep’t of
Justice, 491 U.S. 440, 453–455 (1989); United States v. Turkette, 452 U.S. 576, 580, (1981);
Holy Trinity Church v. United States, 143 U.S. 457 (1892); United States v. Kirby, 74 U.S. 482
(1868).


                                                   10
         Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 11 of 13




       D.      “Common Usage” Is Inapplicable and Inapposite.

       Citing arbitrary civil and regulatory statutes and random “other legal texts,” Little relied

on what it deemed to be “Congress’s common usage of the phrase ‘the same or a different’ in

other statutes” to support its conclusion, claiming that Congress “consistently uses ‘the same’ as

an adjective modifying the noun following it.” Little at *6. “Common usage” does not show

“that ‘same’ is functioning as an adjective” in § 3561(a)(3).

       As a threshold matter, “common usage” of a word or phrase is generally used in place of

and as opposed to “some hidden technical meaning.” Inner City Broad. Corp. v. Sanders, 733

F.2d 154, 158 (D.C. Cir. 1984). The cases cited in Little discuss the common usage of the words

“public” and “private.” Id.; Consumer Prod. Safety Comm’n v. GTE Sylvania, Inc., 447 U.S. 102,

108–09 (1980). “Common usage” of the phrase “the same or a different” is inapposite here

because no party endorses some alternative “hidden technical meaning” of that phrase. Common

usage does not tell a reader anything about the operation of “that is not a petty offense” in the

provision.

       Moreover, none of the random statutes and “other legal texts” Little cites contain the

phrase “the same or a different” followed by a modifying clause beginning with the word “that,”

as in § 3561(a)(3). See Little Op. at *6-7 (citing various civil procedural laws, rules, and

treatises). Because all are distinguishable in that key way, none supports Little’s holding. Little

cites no other criminal statute using the phrase “the same or a different” and Mr. Ticas can locate

none. Congress’s use of the phrase is apparently exceedingly rare, not common.

       E.      Section 3561(a)(3) Does Not Provide “An Exception to § 3551’s Default

               Rule.”

       Little’s reliance on § 3551(a) is misplaced. Section 3551(a) provides that “[e]xcept as

otherwise specifically provided, a person found guilty of an offense” must be sentenced “in

accordance with the provisions of this chapter [chapter 227] so as to achieve the purposes set

forth in subparagraphs (A) through (D) of section 3553(a)(2) to the extent they are applicable in

light of all the circumstances of the case.” It is undisputed here that Mr. Ticas must “be



                                                  11
         Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 12 of 13




sentenced in accordance with the provisions of” chapter 227 to meet the purposes of sentencing

listed in § 3553(a)(2)(A) through (D). Nothing “otherwise specifically provide[s]” that a

defendant sentenced for violating 40 U.S.C. § 5104(d) should be sentenced pursuant to

sentencing provisions of some other chapter “so as to achieve” some other purpose. Section

3561(a)(3) does not provide “otherwise,” nor does it void or somehow override the unambiguous

prohibition barring a sentence of both imprisonment and probation for “an” (i.e., one single)

“offense” in § 3551(b).

       The “general/specific canon,” Scalia & Garner at 183–184, also does not apply here.

Little at *7-8 & n.2. That canon of construction applies only when there is a conflict between

general and specific provisions, Scalia & Garner at 183–184, or “[w]here there is no clear

intention otherwise,” Morton v. Mancari, 417 U.S. 535, 550–51 (1974); see id. at 551 (“When

there are two acts upon the same subject, the rule is to give effect to both if possible…The
intention of the legislature to repeal must be clear and manifest.”) (quotation marks and citation

omitted). Here, as discussed above, there is no conflict between §§ 3551(b) and 3561(a)(3)

under the correct interpretation and Congress intent to prohibit split sentences is clear and

manifest.

       F.      Little Failed to Consider the Legislative History and Constitutional

               Concerns.

       Little failed to consider the legislative history and constitutional concerns, both of which

support Mr. Ticas’s interpretation.

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                                                  12
        Case 1:21-cr-00601-JDB Document 37 Filed 07/11/22 Page 13 of 13




IV.    CONCLUSION

       Based upon the above-stated factors, the defense continues to request that the Court

impose a sentence of home detention. Such a sentence would be sufficient, but not greater than

necessary, to achieve the purposes of sentencing in this case.



                                             Respectfully submitted,

                                             CUAUHTEMOC ORTEGA
                                             Federal Public Defender


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                                                 13
